 Case 8:10-cv-02626-EAK-MAP Document 9 Filed 02/28/11 Page 1 of 2 PageID 37




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

FIONA SMITH,

       Plaintiff,

v.                                                    CASE NO. 8:10-cv-02626-EAK-MAP

FIRST SOURCE ADVANTAGE, LLC,

      Defendant.
_____________________________________/

                                    NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, FIONA SMITH, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and is in

the process of finalizing settlement, which Plaintiff anticipates will be finalized within the next

30 days.


       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.


DATED: February 28, 2011                              RESPECTFULLY SUBMITTED,

                                                      By: /s/ James Pacitti
                                                      James Pacitti (FBN: 119768)
                                                      Krohn & Moss, Ltd
                                                      10474 Santa Monica Blvd, Suite 401
                                                      Los Angeles, CA 90025
                                                      (323) 988-2400 x 230
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                                                      jpacitti@consumerlawcenter.com
                                                      Attorney for Plaintiff




                                   NOTICE OF SETTLEMENT                                               1
 Case 8:10-cv-02626-EAK-MAP Document 9 Filed 02/28/11 Page 2 of 2 PageID 38




                               CERTIFICATE OF SERVICE

       I, James Pacitti, certify that a true and correct copy of the foregoing was served
electronically via CM/ECF upon all counsel of record including the following:

Dale Thomas Golden
Golden & Scaz, PLLC
201 N Armenia Ave
Tampa, FL 33609
dale.golden@goldenscaz.com
Attorney for Defendant

DATED: February 28, 2011                  By:/s/ James Pacitti
                                                  James Pacitti
                                                  Attorney for Plaintiff




                               NOTICE OF SETTLEMENT                                    2
